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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

______________________________________
                                       )
In re:                                 )         Chapter 11
                                       )         Case No. 01-01139 (KJC)
W.R. GRACE & CO., et al.,              )         (Jointly Administered)
                                       )
                          Debtors.     )         Objection Deadline: February 14, 2014 at 4:00 p.m.
______________________________________ )         Hearing Date: March 26, 2014 at 10:00 a.m.


    NOTICE OF APPLICATION OF ROGER FRANKEL, ASBESTOS PI FUTURE
      CLAIMANTS’ REPRESENTATIVE, FOR THE ENTRY OF AN ORDER
         AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          FRANKEL WYRON LLP AS BANKRUPTCY CO-COUNSEL
                  NUNC PRO TUNC TO JANUARY 16, 2014


       PLEASE TAKE NOTICE that Roger Frankel, the Asbestos PI Future Claimants’
Representative (the “Asbestos PI FCR”), filed and served the Application of Roger Frankel,
Asbestos PI Future Claimants Representative, for the Entry of an Order Authorizing the
Retention and Employment of Frankel Wyron LLP as Bankruptcy Co-Counsel Nunc Pro Tunc to
January 16, 2014 (the “Application”), attached hereto.

       PLEASE TAKE FURTHER NOTICE that objections, if any to the Application, are to be
served and filed as to be received by the Court and the following counsel on or before
February 14, 2014:


Asbestos PI FCR                               Proposed Co-Counsel to Asbestos PI FCR
Roger Frankel, Esquire, FCR,                  Richard Wyron, Esquire
Frankel Wyron LLP                             Frankel Wyron LLP
2101 L Street, N.W.                           2101 L Street, N.W.
Suite 800                                     Suite 800
Washington, DC 20037                          Washington, DC 20037


Co-Counsel to Asbestos PI FCR                 Co-Counsel to Asbestos PI FCR
John C. Phillips, Jr., Esquire                Debra L. Felder, Esquire
Phillips, Goldman & Spence, P.A.              Orrick, Herrington & Sutcliffe LLP
1200 North Broom Street                       1152 15th Street, N.W.
Wilmington, DE 19806                          Washington, DC 20005
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Co-Counsel to the Debtors                          Co-Counsel to the Debtors
John Donley, Esquire                               Roger J. Higgins, Esquire
Adam Paul, Esquire                                 The Law Offices of Roger Higgins, LLC
Kirkland & Ellis, LLP                              111 East Wacker Drive, Suite 2800
300 North LaSalle                                  Chicago, IL 60601
Chicago, IL 60654

Co-Counsel to the Debtors                          Counsel to the Asbestos PD FCR
Laura Davis Jones, Esquire                         Alan B. Rich, Esquire
James E. O’Neill, Esquire                          Law Office of Alan B. Rich, Esquire
Pachulski, Stang, Ziehl, Young & Jones, P.C.       1201 Elm Street, Suite 4244
919 North Market Street, Suite 1600                Dallas, TX 75270
Wilmington, DE 19801

Counsel to the Official Committee of               Co-Counsel to Official Committee
Asbestos Property Damage Claimants                 of Unsecured Creditors
Scott L. Baena, Esquire                            Michael R. Lastowski, Esquire
Bilzin Sumberg Baena Price & Axelrod LLP           Duane Morris, LLP
1450 Brickell Avenue, 23rd Floor                   222 Delaware Avenue, Suite 1600
Miami, FL 33131-3456                               Wilmington, DE 19801

Co-Counsel to Official Committee                   Counsel to the Official Committee of
to Asbestos Personal Injury Claimants              Asbestos Property Damage Claimants
Elihu Inselbuch, Esquire                           Michael B. Joseph, Esquire
Caplin & Drysdale                                  Ferry & Joseph, P.A.
600 Lexington Avenue, 21st Floor                   824 Market Street, Suite 904
New York, NY 10022-6000                            P.O. Box 1351
                                                   Wilmington, DE 19899

Counsel to Official Committee                      Co-Counsel to Official Committee
of Equity Holders                                  to Asbestos Personal Injury Claimants
Thomas M. Mayer, Esquire                           Marla R. Eskin, Esquire
Kramer Levin Naftalis & Frankel, LLP               Mark T. Hurford, Esquire
919 Third Avenue                                   Kathleen Campbell Davis, Esquire
New York, NY 10022                                 Campbell & Levine, LLC
                                                   222 Delaware Avenue, Suite 1620
                                                   Wilmington, DE 19801




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Counsel to the Asbestos PD                          Counsel to Official Committee
Future Claimants’ Representative                    of Equity Holders
Alan B. Rich, Esquire                               Teresa K.D. Currier
Law Office of Alan B. Rich, Esquire                 Saul Ewing LLP
1201 Elm Street, Suite 4244                         222 Delaware Avenue
Dallas, TX 75270                                    P.O. Box 1266
                                                    Wilmington, DE 19899-1397


       A HEARING ON THE APPLICATION IS SCHEDULED FOR MARCH 26, 2014 AT
10:00 A.M. BEFORE THE HONORABLE KEVIN J. CAREY, U.S. BANKRUPTCY COURT,
824 N. MARKET STREET, COURTROOM 5, WILMINGTON, DE 19801.

     IF NO OBJECTIONS ARE FILED AND RECEIVED BY THE OBJECTION
DEADLINE, THE COURT MAY APPROVE THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING. IF OBJECTIONS ARE RECEIVED, THE COURT WILL
SCHEDULE A HEARING ON THE MATTER.


                                      Respectfully submitted,


                                      _______________
                                      Roger Frankel, in his capacity as the
                                      Asbestos PI Future Claimants’ Representative
                                      Frankel Wyron LLP
                                      2101 L Street, N.W., Suite 800
                                      Washington, DC 20037
                                      Phone: 202.903.0700
                                      Fax: 202.627.3002
                                      Email: rfrankel@frankelwyron.com

                                      Asbestos PI Future Claimants’ Representative

Date: January 31, 2014




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